                          Case 22-14678-SMG                Doc 17        Filed 07/12/22          Page 1 of 1
Form ATYHRG


                                    United States Bankruptcy Court
                                               Southern District of Florida
                                                www.flsb.uscourts.gov
                                                                                                       Case Number: 22−14678−SMG
                                                                                                       Chapter: 7
In re:
Mario D Mendez
11201 SW 55th Street #116
Miramar FL 33025−3105
SSN: XXX−XX−9815



                                                   NOTICE OF HEARING
PLEASE TAKE NOTICE that a hearing will be held before the Honorable Scott M Grossman to consider the
following:

[16] Motion to Reinstate Case Filed by Debtor Mario D Mendez (Sanchez, Robert)

1. This matter has been set on the Court's motion calendar for a non−evidentiary hearing. The allotted time for this matter is ten
   minutes. The hearing will be held:

  Date: July 27, 2022
  Time: 09:30AM
  Location: U.S. Courthouse, 299 E Broward Blvd Courtroom 308 (SMG), Fort Lauderdale, FL

2. Although the Court will conduct the hearing in person, any interested party may choose to attend the hearing remotely using the
   services of Zoom Video Communications, Inc. ("Zoom"), which permits remote participation by video or by telephone. To participate
   in the hearing remotely via Zoom (whether by video or by telephone), you must register in advance no later than 3:00 p.m., one
   business day before the date of the hearing. To resister, click or manually enter the following registration link in a browser:

  https://www.zoomgov.com/meeting/register/vJIsceqsqzMtG7hezfpqRtlAFR1SzvHObJU

  All participants (whether attending in persons or remotely) must observe the formalities of the courtroom, exercise civility, and
  otherwise conduct themselves in a manner consistent with the dignity of the Court. This includes appropriate courtroom attire for
  those participants appearing in person or by video.

3. The movant, or movant's counsel if represented by an attorney, must:

      (a) serve a copy of this notice of hearing and, unless previously served, the above−described document(s) on all required parties
          within the time frame required by the Federal Rules of Bankruptcy Procedure, the local rules of this Court, and orders of the
          Court, and

      (b) file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B).

  Any party who fails to properly serve any pleading or other paper may be denied the opportunity to be heard thereon.

4. PLEASE NOTE: No person may record the proceedings from any location by any means. The audio recording maintained by the
   Court will be the sole basis for creation of a transcript that constitutes the official record of the hearing.

5. PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities. Electronic devices, including but
   not limited to cameras, cellular phones (including those with cameras), iPads, tablets, pagers, personal data assistants (PDA), laptop
   computers, radios, tape−recorders, etc., are not permitted in the courtroom, chambers or other environs of this Court. These
   restrictions (except for cameras not integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar
   identification card, attorneys who have been authorized to appear by pro hac vice order and witnesses subpoenaed to appear in a
   specific case. No one is permitted to bring a camera or other prohibited electronic device into a federal courthouse facility except with
   a written order signed by a judge and verified by the United States Marshals Service. See Local Rule 5072−2.

Dated: 7/12/2022                                                      By: Robert Sanchez
